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           Exhibit G
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                                              County of Los Angeles
                                 CHIEF ADMINISTRATIVE OFFICE
                               713 KENNETH HAHN HALL OF ADMINISTRATION' LOS ANGELES, CALIFORNIA 90012
                                                           (213) 974-1101
                                                         http://cao.lacounty.gov


DAVID E. JANSSEN                                                                                        Board of Supervisors
Chief Administrative Officer                                                                            GLORIA MOLINA
                                                                                                        First District
                                                                                                        YVONNE B. BURKE
           February 20,2007                                                                             Second District
                                                                                                        ZEV YAROSLAVSKY
                                                                                                        Third District
                                                                                                        DON KNABE
                                                                                                        Fourth District
           The Honorable Board of Supervisors                                                           MICHAEL D. ANTONOVICH
           County of Los Angeles                                                                        Fifth District
           383 Kenneth Hahn Hall of Administration
           500 West Temple Street
           Los Angeles, CA 90012

           Dear Supervisors:

                                    AMENDMENT NO.4 TO LEASE NO. 14714
                                  DEPARTMENT OF PUBLIC SOCIAL SERVICES
                               2910 WEST BEVERLY BOULEVARD, LOS ANGELES
                                            (FIRST) (3 VOTES)

           IT IS RECOMMENDED THAT YOUR BOARD:

    1 . Approve and instruct the Chairman to sign the attached Amendment No. 4 with
          OPPIDAN, LLC (Lessor) to extend the term of Lease No. 14714 for a five-year period
          for the continued occupancy of 42,288 rentable square feet of offce space for the
          Department of Public Social Services (DPSS), at 2910 West Beverly Boulevard, Los
          Angeles, at an initial annual rent of $801,780, which is approximately 90 percent
          subvention funded. The five-year extension in Amendment NO.4 to Lease No. 14714
          will commence upon approval by your Board.

    2. Consider the attached Negative Declaration, together with the fact that no comments
        were received during the public review process, find that the project will not have a
          significant effect on the environment, find that the Negative Declaration reflects the
          independent judgment of the County to approve the Negative Declaration, find that the
          project will have no adverse effect on wildlife resources, and authorize the Chief
          Administrative Offcer (CAO) to complete and file a Certificate of Fee Exemption for
          the project.

           PURPOSE/JUSTIFICATION OF RECOMMENDED ACTION

          Approval of this proposed Amendment NO.4 to Lease No. 14714 will allow the County
          to exercise its option to extend the term of the lease for five years, add a new five-year
          option and require the Landlord, by Amendment, to construct and pay the cost of
          interior and exterior improvements.



                                   'To Enrich Lives Through Effective And Caring Service"
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DPSS has occupied the facility since 1970. In 1999, DPSS refurbished the space to
provide the Los Angeles Eligibility Automation Determination Evaluation and Reporting
System (LEADER) upgrades and allow for a more efficient use of the offces. Retaining
the facility and parking with existing and proposed improvements will provide continued
housing for the program and is a more cost effective alternative than relocating and
constructing new Tenant Improvements (TI) at another location.

IMPLEMENTATION OF STRATEGIC PLAN GOALS

The Countywide Strategic Plan directs that we strengthen the County's fiscal capacity
(Goal
      4). In this case, we have consolidated multiple departmental programs, Le., GAIN
and Medi-Cal.

FISCAL IMPACT/FINANCING
The annual base rent for the subject facility will initially be $801,780. The base rent will
be adjusted on an annual basis by Consumer Price Index (CPI) to a minimum of three
percent and a maximum of five percent annually.

   2910 W. Beverly          EXISTING LEASE                  AMENDED LEASE                    CHANGES

 Area (Square feet)       42,288 square feet              42,288 square feet          None

Term                      12/21/1999 to 12/21/2006        Five years from Board       Five years
                          (effective 12/22/06             approval
                          month-to-month)
 Annual Base Rent         $658,765 ($14.16/sq.ft.)        $801,780 ($18.96/sq.ft.)*   +$143,015($4.80 psf)
 Parking                  210 off-street spaces           210 off-street spaces       None
 Included in Rent
 Cancellation - Initial   None. Lease is now on            No cancellation during     None
 five-year term.          month-to-month.                 the five-year lease
                                                          extension.
 Option to Renew          None                            One (5-year) option         One (5-year) option

 Cancellation- During     None                            Anytime after 36th month    Anytime after 36th
 new option period                                        if the new 5-year option    month.
                                                           is exercised.
 Rental Adjustment        Annual CPI with a cap of        Annual CPI with a cap of     + 2 percent cap
                          3 percent.                      5 percent minimum of
                                                                                       + 3 percent minimum
                                                           3 percent.

* Base rent includes the cost of a day-porter (8 hours per day), HV AC upgrades, carpet, paint and exterior
  improvements to the building entrance. (Total costs estimated to be $950,000 over the lease term.)
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Sufficient funding for the proposed lease amendment is included in the 2006-2007 Rent
Expense Budget and will be charged back to DPSS. Sufficient funding is available in
DPSS operating budgets to cover the proposed lease costs. The annual     lease cost for
DPSS is approximately 90 percent subvention funded.

FACTS AND PROVISIONS/LEGAL REQUIREMENTS

DPSS has occupied 42,288 gross rentable square feet of offce space, plus parking for
210 vehicles for staff and participants since 1970. The office houses 227 DPSS staff
providing job counseling to GAIN participants, houses Medi-Cal outstation eligibility and
support staff that provides Medi-Cal services to participants at hospitals, clinics and
health facilities.

Amendment No.4 extends the term five years and contains the following provisions:

. Five-year lease renewaL. The new base rent during the first year is $801,780.

. The lease continues on a modified full service basis. The County is responsible for
      all utility costs.

. The Lessor will provide a day-porter, a minimum of eight hours per day in addition to
    being responsible for all interior and exterior maintenance.

. The Lessor will provide parking for 210 vehicles included in the base rental rate and
    is sufficient to meet the parking needs of the staff.

. The Lessor will install new carpet, paint interior, upgrade the HV AC system and
      provide exterior improvements to the main entrance of the building.

. An additional five-year option to renew with a cancellation right after the 36th month
      of the option period.
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CAO Real Estate staff surveyed the service area to determine the market rate of
comparable sites. Based upon said survey, staff has established that the base rental
range including parking and TI for similar property is between $18.00 and $24.00 per
square foot per year modified full-service. Thus, the base annual rent of $18.96 per
square foot for the base lease cost is at the lower market range for this area.
Attachment B shows County-owned and leased facilities within the search area for
these programs and none are available to house these programs.

The Department of Public Works has inspected this facility and concurs that it meets
current standards for the County's occupancy, including ADA accessibility.

The proposed leased premises had no additional space available to house a child care
center. However, there are several private child care centers available for County
employees within a five-mile radius of the subject location.

NEGATIVE DECLARATION/ENVIRONMENTAL IMPACT REPORT

The CAO has made an initial study of environmental factors and has concluded that
there is no significant impact on the environment and no adverse effect on the wildlife
resources. Accordingly, a Negative Declaration has been prepared and a notice posted
at the site as required by the California Environmental Quality Act (CEQA) and the
California Administrative Code, Section 15072. Copies of the completed Study, the
resulting Negative Declaration, and the Notice of Preparation of Negative Declaration as
posted are attached. No comments to the Negative Declaration were received. A fee
must be paid to the State Department of Fish and Game when certain notices are filed
with the Registrar-Recorder/County Clerk. The County is exempt from paying this fee
when your Board finds that a project will have no impact on wildlife resources.

IMPACT ON CURRENT SERVICES (OR PROJECTS)

It is the finding of the CAO that the proposed Amendment NO.4 to Lease No. 14714 will
allow DPSS to continue using the offce and parking facilities. DPSS concurs with this
recommendation.
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CONCLUSION

It is requested that the Executive Offcer, Board of Supervisors return two originals of
the executed Amendment NO.4 to Lease No. 14714, two certified copies of the Minute
Order and the adopted, stamped Board letter to the CAO, Real Estate Division at
222 South Hill Street, 4th Floor, Los Angeles, CA 90012 for further processing.

Respectfully submitted,
         _.".....,,~. ~.. .'
     ..,p'" .
       --
DA V D E. JANSSEN p.-
Chief Administrative Officer

DEJ:WLD
CEM:TJS:hd

Attachments (2)

c: County Counsel
       Auditor-Controller
       Department of Public Social Services
2910wbeverly.b
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                                                                                                               Attachment A

                                      DEPARTMENT OF PUBLIC SOCIAL SERVICES
                                     2910 W BEVERLY BOULEVARD, LOS ANGELES

                                           Asset Management Principles Compliance Form 1

1.   Occupancv                                                                                      Yes   No   N/A

     A   Does lease consolidate administrative functions?2                                                       X

     B   Does lease co-locate with other functions to better serve clients? 2                       X

     C   Does this lease centralize business support functions?2                                                 X
                        ,
     D   Does this lease meet the guideline of 200 sq. ft of space per person?2 No, the space             X
         is used to house additional field staff. Additionally, administrative and GAIN
         training to clients uses more space than 200 sq. ft. of space per person.
2.   Capital
     A   Is it a substantial net County cost (NCC) program? 90% State and Federal funding.                X

     B   Is this a long term County program?                                                        X

     C   If yes to 2 A or B; is it a capital   lease or an operating lease with an option to buy?         X

     D   If no, are there any suitable County-owned facilties available?                                  X

     E   If yes, why is lease being recommended over occupancy in County-owned space?                            X

     F   Is Building Description Report attached as Attachment B?                                   X

     G   Was build-to-suit or capital project considered? A build-to-suit project has not been            X
         considered at this time and the process to solicit, negotiate and build a build-to-
         suit facilty could take up to five years. This Lease extension is for a five-year
         term which would allow future consideration of a build-to-suit or capital project.
3.   Portfolio ManaClement
     A   Did department utilize CAO Space Request Evaluation (SRE)?                                 X

     B   Was the space need justified?                                                              X

     C   If a renewal       lease, was co-location with other County departments considered?        X

     D

         1.

         2.
               --
         Why was this program not co-located?

                    The program clientele requires a "stand alone" facility.

                    No suitable County occupied properties in project area.
         3 _ No County-owned facilties available for the project.
         4. _ Could not get City clearance or approval.

         5. .. The Program is being co-located.

     E   Is lease a full service lease?2 The Landlord wil not pay for utiliies, therefore                 X
         County is responsible for all costs associated with the consumption of utilities.
     F   Has growth projection been considered in space request?                                          X

     G   Has the Dept. of Public Works completed seismic review/approval?                           X
         lAs approved by the Board of Supervisors 11/17/98

         21f not, why not?
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                                                                                                              Attachment B

                                   Department of Public Social Services
                                2910 West Beverly Boulevard, Los Angeles


 LACO           FACILITY NAME                   ADDRESS                 SQUARE SQUARE OWNERSHIP SQUARE
                                                                         FEET    FEET           FEET
                                                                        GROSS    NET            AVAILABLE
1A424     DPSS-EQUITABLE PLAZA       3435 WILSHIRE BLVD,                  65,872  62,57f LEASED    NONE
          BUILDING                   LOS ANGELES 90010
A532      HEAL TH-METROPLEX          3530 WILSHIRE BLVD,                  62,901     56,611        LEASED        NONE
          BUILDING                   LOS ANGELES 90010
               AL HEAL TH-HDQRTRS    3160 W 6TH ST, LOS ANGELES           60,8Ö-C    ':0,                D       NONE

fA336
         'OFFICE ANNEX
         SHERIFF - WILSHIRE CENTRE
          BUILDING
                                     90020
                                     3055 WILSHIRE BLVD;
                                     LOS ANGELES 90010
                                                                           7,755      7,11E        LEASED      Ne~
1A369    DCFS-PROCUREMENT AND        501 SHATTO PL, LOS ANGELES           17,751     15,97E        LEASED        NONE
         SPECIAL SERVICES OFFICE     90020
1A408    DCFS-THE U S BORAX BUILDING 3075 WILSHIRE BLVD,                 132,488    105,56E        LEASED        NONE
                                     LOS ANGELES 90010
1A409    DCSS-WILSHIRE PLAZA         3303 WILSHIRE BLVD,                   4,000      3,90C        LEASED        NONE
         BUILDING                    LOS ANGELES 90010
1A413    HUMAN RESOURCES-WILSHIRE    ß333 WILSHIRE BLVD,                  62,479     53,17E        LEASED        NONE
         SQUARE LWO BUILDING         LOS ANGELES 90010-4109
1A425    DCFS-DEPARTMENTAL           1425 SHATTO PL, LOS ANGELES          80,756     76,065        LEASED        NONE
         HEADQUARTERS BLDG           90020
C500     PROBATION-PRETRIAL         500 SHATTO PLACE, LOS ANGELES          6,596      5,094        LEASED        NONE
         SERVICESI BAIL DEVIATION   90020
X317     DCSS-LE SAGE COMPLEX 4     3175 W 6TH ST, LOS ANGELES            52,230     42,341         OWNED        NONE
         STORY BLDG                 90020
X510     DHS-LESAGE COMPLEX 2 STORY 510 S VERMONT AVENUE,                 31,540     24,840         OWNED        NONE
         BLDG                       LOS ANGELES 90020
X532     DCSS-LE SAGE COMPLEX 1     532 S VERMONT AVE,                    14,126     10,314        OWNED         NONE
         STORY BLDG                 LOS ANGELES 90020
X550     MENTAL HEALTH-LE SAGE      550 S VERMONT AVENUE,                171,651    149,668        OWNED         NONE
         COMPLEX lWR                 LOS ANGELES 90020-1991
Y193     PARKS & RECREATION-         433 S VERMONT AVENUE,                31,862     21,777         OWNED        NONE
         HEADQUARTERS BLDG           LOS ANGELES 90020
B695     DCFS-IMMUNIZATION PRGMI     695 S VERMONT AVENUE,                14,274     12,847        LEASED        NONE
         ENVIRONMENTAL HEALTH        LOS ANGELES 90010
V\600 CENTRAL CIVIL WEST             600 S COMMONWEALTH AVENUE,          204,019    151,69E        LEASED        NONE
      COURTHOUSE                 LOS ANGELES 90005
V\360 DPSS-METRO NORTH API       12601 WILSHIRE BLVD,                     62,000     60,14C        LEASED        NONE
      CALWORKS DISTRICT OFFICE   LOS ANGELES 90057
B922 DPSS-WILSHIRE SPECIAL       12415 W 6TH ST, LOS ANGELES              46,22E     42,065        LEASED        NONE
      DISTRICT OFFICE            90057
5353 DPSS-METRO SPECIAL DISTRICT 12707 S GRAND AVE, LOS ANGELES          115,242     89,650         OWNED        NONE
      OFFICE                     90007
D015 DPSS-CATHOLIC CHARITIES     1530 JAMES M. WOOD BLVD,                    200            200     PERMIT       NONE
      COMPUTER CENTER            LOS ANGELES 90017
6518 rrHE ADAMS & GRAND BUILDING 2615 S GRAND AVE, LOS ANGELES           215,43E    183,87£         OWNED        NONE
                                     90007
V\388    V\LT PUBLIC DEF-WILSHIRE-   1055 WILSHIRE BLVD,                   6,500       6,175       LEASED        NONE
         BIXEL BLDG                  LOS ANGELES 90017
5266     METROPOLITAN COURTHOUSE     1945 SHILL ST, LOS ANGELES          303,43~    125,46E        FINANCED      NONE
                                     90007
0155     STANLEY MOSK COURTHOUSE     111 N HILL ST, LOS ANGELES 90012    794,459    441,761         OWNED        NONE

5546     DHS-CENTRAL PUBLIC HEALTH   241 N FIGUEROA ST,                   60,92~     34,74f         OWNED        NONE
         CENTER                      LOS ANGELES 90012
IA 159   DISTRICT ATTORNEY-          201 N FIGUEROA ST,                   83,16~     79,00E         LEASED       NONE
         FIGUEROA PLAZA              LOS ANGELES 90012
5456     HEALTH SERVICES ADMIN       313 N FIGUEROA ST,                  221,35E    134,851         OWNED        NONE
         BUILDING                    LOS ANGELES 90012
0181     KENNETH HAHN HALL OF ADMIN 500 W TEMPLE STREET,                 958,090    591,451        FINANCED      NONE
                                    LOS ANGELES 90012
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LACO           FACILITY NAME                     ADDRESS             SQUARE SQUARE OWNERSHIP SQUARE
                                                                       FEET    FEET           FEET
                                                                      GROSS    NET           IAVAILABLE
3155 rrHE MUSIC CENTER - DE LISA      301 N GRAND AVENUE,               27,582  17,97€ OWNED     NONE
       BUILDINGfTHE ANNEX             LOS ANGELES 90012
1A429 CAO REAL ESTATE DIVISION/        22 S HILL STREET,               29,012      26,08~     LEASED     NONE
       SERVICE INTEGRATION            LOS ANGELES 90012
1A442 MENTAL HEAL TH-LAPD-SMART        19 S SPRING STREET,               1,000      1,OOC   GRATIS USE   NONE
      ITEAM OFFICE                    LOS ANGELES 90013
1A496 PUBLIC DEFENDER-L.A LAW          07 S BROADWAY,                   7,100       6,750     LEASED     NONE
       CENTER BUILDING                LOS ANGELES 90012
3154 CLARA SHORTRIDGE FOLTZ            10 W TEMPLE STREET,           1 ,036,2~    399,535 FINANCED       NONE
       CRIMINAL JUSTICE CENTER        LOS ANGELES 90012
10156 HALL OF RECORDS                 320 W TEMPLE STREET,            438,095     258,67i     OWNED      NONE
                                      LOS ANGELES 90012
1Y013   DPSS-CIVIC CENTER DISTRICTI   813 E 4'n PLACE, LOS ANGELES     39,95E      25,15E     OWNED      NONE
        GROW CENTER OFFICE            90013
1A384   lAG COMM/WTS & MEASURES-      1320 E OLYMPIC BLVD,                776        776      LEASED     NONE
         DOWNTOWN MARKET OFFICE       LOS ANGELES 90021
15979    CENTRAL ARRAIGNMENT           29 BAUCHET STREET,              83,692      30,638 FINANCED       NONE
        COURTHOUSE                    LOS ANGELES 90012
C863    MED CTR-PATIENT FINANCIAL     1910 N MAIN STREET,              13,300       8,9fs     LEASED     NONE
        SERVICES OFFICE               LOS ANGELES 90031
5260    CORONER-ADMINISTRA TIONI      1102 N MISSION BLVD,             22,479      14,251     OWNED      NONE
        INVESTIGATIONS BLDG           LOS ANGELES 90033
3100    EASTLAKE JUVENILE COURT-1     1601 EASTLAKE AVENUE,            47,379      26,024     OWNED      NONE
                                      LOS ANGELES 90033
14799 PW CENTRAL YARD-DIVISION        1525 ALCAZR STREET,              10,438       7,224     OWNED      NONE
     IADMINISTRA TION               LOS ANGELES 90033
C110 MED CTR-EXPENDITURE             064 MARENGO STREET,                 9,602      7,01C     LEASED     NONE
      MANAGEMENT                    LOS ANGELES 90033
~294 PW CENTRAL YARD-SHOP            275 ALCAZAR STREET,                 1 ,400     1,260     OWNED      NONE
      OFFICE BLDG                   LOS ANGELES 90033
6578    DPSS-METRO EAST AP           855 E OLYMPIC BLVD,               63,066      29,220     OWNED      NONE
        DISTRICT OFFICE             LOS ANGELES 90023
1A436   DPSS-EXPOSITION PARK FAMILY 3833 S VERMONT AVENUE,            130,000     110,500     LEASED     NONE
        SERVICE CENTER              LOS ANGELES 90037
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                   AMENDMENT NO.4 TO LEASE NO.14714
                  DEPARTMENT OF PUBLIC SOCIAL SERVICES
              2910 WEST BEVERLY BOULEVARD, LOS ANGELES

This Amendment NO.4 to Lease No. 14714 ("Amendment") is made and entered into
effective as of this day of ,2006 by and
between OPPIDAN, LLC, a California limited liabilty company, ("Lessor"), and the
COUNTY OF LOS ANGELES, a body politic and corporate, ("Lessee").

       WHEREAS, the Oswin Company, a Partnership, ("Oswin") as previous owner of
the property located at 2910 West Beverly Boulevard, Los Angeles, ("Property"), and
Lessee entered into a Lease bearing No. 14714 dated March 14, 1969, whereby Oswin
leased to Lessee approximately 42,288 gross square feet of office space together with
78,039 gross square feet of parking space for a term beginning September 1, 1970, and
ending August 31, 1995 for use by the Department of Public Social Services ("Lease");

WHEREAS, Oswin and Lessee entered into an Amendment NO.1 to Lease No. 14714
on August 22, 1995 to extend the lease term to August 31, 1996 and thereafter the
parties entered into an Amendment NO.2 to Lease No. 14714 on October 29, 1996 to
extend the lease term to August 31, 1999; and, thereafter entered into Amendment No.
3 to Lease No. 14714 on December 21, 1999 and Lessee exercised the option therein
to further extend the Lease term to begin December 21, 1999 and end December 21,
2006; and Lessee has held over with Lessor's consent continuing the terms of the
Lease and the Lessee's right to exercise the option to extend the term, and

WHEREAS, Lessor purchased the Property from Oswin in October of 2000 subject to
the Lease, and Lessee is now desirous to exercise its option to further extend the term
of the Lease for five (5) years, provided Lessor agrees to all terms and conditions as set
forth herein.

NOW, THEREFORE, in consideration of the rents, covenants and agreements herein
contained, and intended to be legally bound, Lessor and Lessee hereby covenant and
agree the following amendments are effective upon the date above written:


1. TERM. Paragraph 3. Term, is amended to provide that the term of the Lease wil
expire upon the later of December 21, 2011 or the date the Board of Supervisors of the
County of Los Angeles has approved the extension of the term for five (5) years.

2. Option To Renew. Paragraph 32. Options to Renew, of the Lease as amended,
is amended to add the following:

" Option No 3 to Renew
Lessee shall have the option to renew this Lease for a third additional term of five (5)
years commencing upon the later of December 21, 2011 or the date of exercise of
Option NO.3 by the Board of Supervisors. In the event that Lessee desires to exercise
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option not less than one-hundred twenty (120) days prior to December 21, 2011. The
actual exercise of the option shall be only by the Board of Supervisors at any time prior
to the later of December 21, 2011 or the expiration date of any holdover period pursuant
to Paragraph 6. of this Lease. Time is of the essence. During such option term, Lessee
shall continue to pay the Base Rent as adjusted in accordance with the terms of
Paragraph 29 of this Lease.

3. RENT. Paragraph 5,6, and 7., Rental of the Lease, are deleted in their entirety
and in its place shall be substituted the following:

       "Lessee shall continue to pay a monthly rent for the Premises in the amount of
$66,815.04 per month, or $1.58 per square foot, ("Base Rent". All rent payable under
this Lease, as amended, subject to the adjustments described herein below, shall be
due and payable without demand on or before the first day of each calendar month,
except that Rent for any fractional calendar month at the commencement or end of the
Term shall be prorated on a daily basis. Lessor shall file a Payment Voucher annually
therefore, during the month of June, with the Auditor of the County of Los Angeles (the
"County").

4. MAINTENANCE AND REPAIRS. The Lease is amended by deleting Exhibit A and
substituting therefore the Exhibit A attached hereto and incorporated herein by
reference.

5. RENTAL ADJUSTMENTS Paragraph 29 Rental Adjustments of the Lease, is
deleted in its entirety and in its place is substituted the followirig as new Paragraph 29:


         "29. Rental Adjustments.

           (a) CPI. On January 1, (the "Adjustment Date") and on every anniversary
of the Adjustment Date thereafter, Base Rent shall be adjusted by applying the CPI
Formula set forth below.

                   (b) CPI Formula. The Index means the Consumer Price Index for all Urban
Consumers for the Los Angeles-Riverside-Orange County area, all items published by
the United States Department of Labor, Bureau of Labor Statistics
(1982-84=100). The "CPI Formula" means Base Rent multiplied by a fraction, the
numerator being the Index published for the month immediately preceding the month
the adjustment is to be effective, and the denominator being the Index published for the
month of December, 2006 ("Base Index").

         If the Index is changed so that the Index differs from that used as of
December, 2006, the Index shall be converted in accordance with the conversion factor
published by the United States Department of Labor, Bureau of Labor Statistics. If the
Index is discontinued or revised during the Term of this Lease, such other governmental
Index or computation with which it is replaced shall be used in order to obtain
substantially the same results as would be obtained if                          the Index had not been
discontinued or revised.

                   (c) Illustration of Formula. The formula for determining the new rent shall
be as follows:
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                  New Index
                  (Base x $66,815.04 (Base Rent)
                  Index)
                  + Amount needed to amortize Lessee's Additional Lessee
                  iñprovements, if any
                  .: Amount needed to amortize change order costs, if any

                  = "Monthly Rent"

              (d) Limitations on CPI Adjustment. Notwithstanding the foregoing, in no
event shall the Base Rent CPI adjustment set forth above result in an annual rent
increase greater than five percent (5%) of the Base Rent or less than three percent
(3.0%) of the Base Rent

6. CANCELLATION. Paragraph 30, of the Lease is deleted in its entirety and in its
place shall be substituted the following:

    "Should the Lessee exercise its option to renew this. Lease for five (5) years
pursuant to Paragraph 32, Lessee shall have the right to. cancel this Lease on or
anytime after December 21, 2014, by giving Lessor not less than ninety (90) days prior
written notice."


7. PREMISES IMPROVEMENTS. The Lease is amended by the addition of the
following as new Paragraph 38. Alteration and Preparation of Premises:

      "38.Alteration and Preparation of Premises. Lessor wil cause, at his sole cost
and expense, to be constructed at the Premises, interior and exterior improvements, to
begin by February 19, 2007 and to be completed by June 19,2007 within One Hundred
Eighty (180) days of the commencement date as follows:

       Replace Carpet throughout (approximately 30,000 sf) with carpet tile, installation
includes lifting all modular furniture during installation.

       Paint all interior walls, including hallways,         common areas, restrooms, conference
rooms, and lunch/ break rooms. Lessor not responsible to move and paint behind
modular panels and or attached furniture.

      HV AC-Project completion and Upgrade:

       a) Furnish and install Boiler which meets or exceeds AQMD energy efficiency
standards;

       b) Furnish and Install a new Chiller Barrel (whole assembly);

       c) Replace one compressor (which will restore HVAC system to 100% back-up;
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       d) Furnish and Install Honeywell controls via PC providing remote control
access to the HV AC system;

       e) Air Balance entire system; and


       f) Provide quarterly maintenance contract for service and maintenance on the
HV AC system during the term of the Lease.

Main Entrance Enclosure:

      Furnish and install decorative, with random geometric design, wrought iron
enclosure at the main entrance to the building.

     8. INDEMNIFICATION. Paragraph 27 of the Lease as amended is hereby
deleted in its entirety and in its place shall appear the following:


       "27. Insurance And Indemnity.


              (a) Lessee's Indemnity. Lessee shall indemnify, defend and hold
Lessor harmless from and against all loss, cost and expense, including attorneys' fees,
arising from any injury or damage to any person or property, occurring in or about the
Building or Premises as a result of any negligent act or omission or willful misconduct of
Lessee or its employees or arising from any breach or default under this Lease by
Lessee. The foregoing provisions shall not be construed to make Lessee responsible
for loss, damage, liability or expense resulting from injuries to third parties caused by
the negligence or willful misconduct of Lessor, or its officers, contractors, licensees,
agents, employees or invitees.

              (b) Lessor's Indemnity Lessor shall indemnify, defend and hold Lessee
harmless from and against all loss, cost and expense, including attorneys' fees, arising
from any injury or damage to any person or property, occurring in or about the Building
or Premises as a result of any negligent act, omission or willful misconduct of Lessor, or
its officers, contractors, licensees, agents, employees, guests, or visitors or arising from
any breach or default under this Lease by Lessor. The foregoing provisions shall not be
construed to make Lessor responsible for loss, damage, liability or expense resulting
from injuries to third parties caused by the negligence or wilful misconduct of Lessee, or
its officers, contractors, licensees, agents, employees or invitees.

                      (c) Lessor's Insurance. During the term of this Lease, Lessor
shall maintain the following insurance:
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                            (i) Commercial property insurance which shall (1) cover
damage to Lessor's property, including improvements and betterments, from perils
covered by the causes-of-Ioss special form (ISO form CP 10 30), and include ordinance
or law coverage (and coverage against acts of terrorism to the extent such coverage is
reasonably available and priced at commercially reasonable rates) and (2) be. written for
full replacement cost of the property, with a deductible of no greater than 5% of the
property value. Lessor shall carry insurance on any furniture and furnishings which wil
become the property of Lessee at the expiration of the term and on all modular furniture
installed in the Premises. Insurance proceeds shall be payable to Lessor and Lessee
as their interests may appear and be utilized for repair and restoration of the Premises.


                            (ii) General liability insurance (written on ISO policy form
CG 00 01 or its equivalent) with limits of not less than the following: (1) per occurrence
and general aggregate amount of $5,000,000; (2) products/completed operations
aggregate of $2,000,000 and (3) personal and advertising injury of $1 ,000,000.

                            (iii) Failure by Lessor to maintain the insurance required by
this Section and deliver evidence thereof as required by this Lease or to use any
insurance proceeds to timely repair and restore the Premises shall constitute a material
breach of this Lease

               (d) Insurance Requirements All insurance policies required to be
maintained by Lessor under this Lease shall be issued by insurance companies which
have a Best's Rating of "A VII" or better and which are qualified to do business in the
State of   California. All liability and property damage and other casualty policies of
Lessee shall be written as primary policies, not contributing with, and not in excess of
coverage which Lessor may carry.

               (e) Certificates Lessor shall deliver to Lessee on the date of this
Amendment and thereafter at least fifteen (15) days prior to expiration of any insurance
required to be carried hereunder, certificates of insurance evidencing this coverage with
limits not less than those specified above. Certificates must document that each party
has named the other as an additional insured (or its equivalent) on its general liability
and property insurance policy, and that Lessee has been named a loss payee on
Lessor's commercial property insurance policy, as required. Further, all certificates
shall expressly provide that no less than thirty (30) days' prior written notice shall be
given to Lessee in the event of material change to, expiration or cancellation of the
coverages or policies evidenced by the certificates.

               (f) Waiver of Subroqation. Lessor and Lessee each hereby waive
their rights of subrogation against one another to the extent it is covered by the property
insurance policies required to be carried hereunder. Lessor shall cause its insurance
carriers to consent to the foregoing waiver of rights of subrogation against Lessee."
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9. NOTICES. Paraqraph 21 of the Lease is deleted in its entirely and in its place shall
appear the followinq lanquaqe:

       All notices and communications to any party hereunder shall be in writing and
shall be deemed properly given if delivered personally, sent by registered or certified
mail, postage prepaid, or by a recognized overnight commercial messenger providing
proof of delivery, facsimile (electronically confirmed). Any notice so given shall be
deemed to    have been given as of the date of delivery (whether accepted or refused)
established by U.S. Post Office return receipt or the overnight carrier's proof of delivery,
as the case may be. Any such notice not so given shall be deemed given upon receipt
of the same by the party to whom the same is to be given. Such notice and the
envelope containing the same shall be addressed as follows:

To the Lessor:
OPPIDAN, LLC
c/o The Charles Company
1888 Century Park East, Suite 450
Los Angeles, California 90067

To the Lessee:

Board of Supervisors
Kenneth Hahn Hall of Administration, Room 383
500 West Temple Street
Los Angeles, California 90012

With a copy to:

Chief Administrative Office
Real Estate Division
222 South Hill Street, 3rd Floor
Los Angeles, California 90012
Attention: Director of Real Estate
Fax Number: (213) 217-4971

10. LESSOR'S DEFAULT. Paraqraph 38 of the Lease is added as follows:
            "38. Lessor Default.

                a. Remedies
                In addition to the provisions for Lessor's default provided by Paragraphs                    1 0,
27 and 31, which shall not be subject to this Paragraph 38, Lessor shall be in default in
the performance of any obligation required to be performed by Lessor under this Lease
if Lessor has failed to perform such obligation within five (5) days after the giving of
written notice with respect thereto by Lessee (which notice shall be, if appropriate, the
same notice given under Section 10, 27 or 31; provided, however, that if the nature of
such default is such that the same cannot reasonably be cured within such five (5) day
period, Lessor shall not be deemed to be in default if Lessor shall within such period
commence such cure and thereafter diligently prosecute the same to completion. If the
default by Lessor ("Lessor Default") is of such a nature that it materially and
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substantially interferes with Lessee's occupancy and use of the Premises and if such
Lessor Default is not cured within the foregoing cure period, then Lessee shall have the
right, at its option, with or without further notice or demand of any kind to Lessor or any
other person, to anyone or more of the following described remedies in addition to all
other rights and remedies provided at law orin equity or elsewhere herein: (i) to remedy
such default or breach and deduct the costs thereof (including but not limited to
attorneys' fees) plus interest at the rate of ten (10%) per annum from the installments of
Monthly Rent next falling due; (ii) to pursue the remedy of specific performance; (iii) to
seek money damages for loss arising from Lessor's failure to discharge its obligations
under this Lease or offset such damages against Monthly Rent next coming due; or
                                                                                                    (iv)
to terminate this Lease.
                        b. Waiver

                        Nothing herein contained shall relieve Lessor from its duty to effect the
repair, replacement, correction or maintenance required to restore any affected
services, or to perform any other obligations to the standard prescribed in this Lease,
nor shall this Section be construed to obligate Lessee to undertake any such work.

                        c. Emerqency

          Notwithstanding the foregoing cure period, Lessee may cure any default
without notice where the failure promptly to cure such default would, in the reasonable
opinion of Lessee, create or allow to persist an emergency condition or materially and
adversely affect the operation of Lessee's business in the Premises.

11. INTERPRETATION. If there are any inconsistencies, variances or differences
between any provision of the Lease and a provisions of this Amendment, the provisions
of this Amendment will prevail and control. The Lease, as amended by this Amendment,
is ratified, confirmed and approved. The terms "include" and "including" are not limiting
and include the concept of "including but not limited to."

Signature page follows.
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 IN WITNESS WHEREOF, the Lessor has executed this Amendment or caused it to be
 executed, and the County of Los Angeles by order of its Board of Supervisors, has
 caused this Amendment to be executed on its behalf by the Chairman of said Board and
 attested by the Clerk thereof the day, month, and year first above written.

 LESSOR
 By: Oppidan .LLC

                               ember, a California corporation,


          Mark Gabay, President

 ATTESTED:

 SACHI A. HAMAl
 Executive Officer-Clerk
 of the Board of Supervisors


 Deputy

 LESSEE

 COUNTY OF LOS ANGELES



 By
 Zev Yaroslavsky
  Chairman, Board of Supervisors

 APPROVED AS TO FORM:

  OFFICE OF RAYMOND G. FORTNER
  COUNTY COUNSEL




   l' ., ú.
  Kathleen Dougherty Felice
  PrinciRal Deput Cou ty Counsel

  By
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                                    EXHIBIT "A"
                        CLEANING AND MAINTENANCE SCHEDULE

This list reflects the various cleaning and maintenance requirements for the leased
office space. Responsibility for this cleaning and maintenance service belongs to the
Lessor.

Daily (Monday through Friday)
1. Carpets vacuumed.
2. Composition floors dust-mopped.
3. Waste baskets, other trash receptacles emptied.
4. Chairs and waste baskets returned to proper position.
5. Fingerprints removed from glass doors and partitions.
6. Drinking fountains cleaned, sanitized and polished.
7. Lavatories, toilets and toilet rooms cleaned and mopped. Toilet supplies
         replenished.
8. Bulb and tube replacements, as required.
9. Graffiti expunged as needed within two (2) working days after notice by Lessee.
10. Floors washed as needed.
11. Kitchen/Lunchroom supplies replenished including paper supplies and soap.
12. Provide Day Porter service a minimum of eight (8) hours per day, beyond
         normal janitorial service.
Weekly
1. Low-reach areas, chair rungs, baseboards and insides of door-jambs dusted.
2. Window sills, ledges and wood paneling and molding dusted.

Monthly
1. Floors washed and waxed in uncarpeted office area.
2. High-reach areas, door frames and tops of partitions dusted.
3. Picture moldings and frames dusted.
4. Wall vents and ceiling vents vacuumed.

Quarterly
Draperies or mini blinds cleaned as required, but not less frequently than Quarterly.

Semi-Annually

Windows washed as required inside and outside but not less frequently than twice
annually.
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As Needed
Carpets cleaned as required. The sidewalks, driveways, parking areas and all means of
access and egress for the demised Premises should be maintained in good repair,
clean and safe condition at all times. All                                grounds of
                                                        lawns, shrubbery and foliage on the

the demised Premises should be maintained in good condition and neat in appearance.
Grass and shrubbery must be replanted as needed to maintain the grounds in good
appearance and condition.
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    NOV 2 0 2006
IlNl~M1~R~ DATE POSTED - November 22,2006
       T. PEREA NOTICE OF PREPARATION OF NEGATIVE DECLARATION
           This notice is provided as required by the California Environmental quality Act and
           California Administrative Code Title 14 Division 6, Section 15072 (a) (2) B.

           A Negative Declaration has been prepared for this site based on an Initial Study which.
           consists of completion and signing of an Environmental Information Form showing i
           background information as follows: '
           1. Name of Proponent - County of Los Angeles
                                           .'., Chief Administrative Office

           2. Address/Phone No. - 222 South Hill Street, 3rd Floor
                                             Los Angeles, California 90012

                                          AQent                  Telephone
                                          Thomas Shepos         (213) 974-4364
           3.            Date Information Form Submitted-        November 16, 2006
           4. AQencv Requirinq Information Form - Los Angeles County
                                                                Chief Administrative Office
                                                                Real Estate Division
           5. Name of Proposal, if Applicable -
           6. Address of Faciliv Involved- 2910 West Beverly Blvd.,
                                                         Los Angeles, CA 90057

           Interested parties may obtain a copy of the Negative Declaration and the completed
           Environmental Information Form/Initial Study by contacting the Real Property Agent
           indicated under  2 above and referring to the proposal by name or to the facilty by
           address.
           Si necesita informacion en espanol, por favor de comunicarse con Carlos Marquez,
           para asistencia en obtener una traduccion para el numero (213) 974-4163.


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                             NEGATIVE DECLARATION

            Department Name:            Public Social Services
            Project:                    Administrative Offices/ GAIN and Medi-Cal
                                        Outreach

       Pursuant to Section 15072, California Environmental Quality Act and California
       Administrative Code Title 14, Division 6

1. Description of Project

       The leasing of existing office space in an existing commercial building to be
       used by the County of Los Angeles, Department of Public Social Services as
       administrative office, and training space.

2. a. Location of Project (plot plan attached)

            2910 west Beverly Boulevard, Los Angeles, CA 90057

       b. Name of Project Proponent

            County of Los Angeles
            Chief Administrative Office
            222 South Hil Street, 3rd Floor
            Los Angeles, CA 90012

3. F:indinq for Neqative Declaration

       It has been determined that this project will not have a significant effect on the
       environment based on information shown in the attached Environmental
       Information Form dated November 13, 2006 which constitutes the Initial Study
       of this project.

4. Initial Study

       An Initial Study leading to this Negative Declaration has been prepared by the
       Chief Administrative Office and is attached hereto.

5. Mitiqation Measures Included in Project

       None required.

       Date                      Real Property Aqent                 Telephone
       November 13, 2006         Thomas Shepos                       (213) 974-4363



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                                       COUNTY OF LOS ANGELES
                                     CHIEF ADMINISTRATIVE OFFICE

                                          FIVE-YEAR LEASE

                                       NEGATIVE DECLARATION

  I. Location and Description of the Project

The proposed project is for the County of Los Angeles to lease facilities at 2910 West
Beverly Boulevard, Los Angeles, California, which wil be used by the Department of
Public Social Services. The office          space now occupied by DPSS continues to house
227 staff providing job counseling to GAIN participants, houses Medi-Cal outstation
eligibility and support staff that provide Medi-Cal services to participants at hospitals,
clinics and health facilities.


The facility, located in the First Supervisorial District approximately 1.4 miles from the
Los Angeles Civic Center, includes 42,288 square feet of offce space and a 78,039
square foot parking structure. DPSS shall have use of 210 off-street parking spaces for
staff in addition to available parking for visitors. The Landlord has no expansion plans
beyond the scope of this project.

 11. Findinq of No Siqnificant Effect

              Based on the attached initial study, it has been determined that the project wil
              not have a significant effect on the environment.

ilL. Mitiqation Measures
              None required.




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